

Young-Borra v New York &amp; Presbyt. Hosp. (2021 NY Slip Op 02481)





Young-Borra v New York &amp; Presbyt. Hosp.


2021 NY Slip Op 02481


Decided on April 22, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 22, 2021

Before: Manzanet-Daniels, J.P., Mazzarelli, Mendez, Shulman, JJ. 


Index No. 162626/15 Appeal No. 13632 Case No. 2020-03576 

[*1]Paula Young-Borra, Plaintiff-Respondent,
vThe New York and Presbyterian Hospital, Defendant-Appellant.


Martin Clearwater &amp; Bell LLP, New York (Barbara D. Goldberg of counsel), for appellant.
Godosky &amp; Gentile, P.C., New York (Robert E. Godosky of counsel), for respondent.



Order, Supreme Court, New York County (Lucy Billings, J.), entered March 2, 2020, which denied defendant's motion for summary judgment dismissing the complaint, unanimously affirmed, without costs.
In this slip and fall case, defendant failed to establish prima facie that it did not create or have notice of the puddle of water in front of a nurses' station in its outpatient recovery room. Although defendant's employees testified to general cleaning and inspection procedures, they did not testify that those procedures were followed on the day of the accident, and defendant offered no evidence indicating the last time the area was inspected or cleaned before plaintiff's fall (see Socorro v New York Presbyt. Weill Cornell Med. Ctr., 160 AD3d 544 [1st Dept 2018]; Cater v Double Down Realty Corp., 101 AD3d 506, 506 [1st Dept 2012]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 22, 2021








